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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------- X
                                       :
MARIA DEL CARMEN ROBAINAS, GIOVANNI    :                14cv9926 (DLC)
VALLADARES, JOSE A. CAPABLANCA,        :
MODESTO MARTIN, JACQUELINE J. RUSS,    :              OPINION AND ORDER
ALLEN PEREZ and GREGORY TRUITT,        :
                                       :
                    Plaintiffs,        :
                                       :
          -v-                          :
                                       :
METROPOLITAN LIFE INSURANCE COMPANY    :
and METLIFE, INC.,                     :
                                       :
                    Defendants.        :
                                       :
-------------------------------------- X

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DENISE COTE, District Judge:

     Plaintiffs Maria Robainas and others (“Plaintiffs”) brought

a putative class action on behalf of those who purchased life

insurance from Metropolitan Life Insurance Company (“MLIC” or

“Defendant”). 1   MLIC moves to dismiss the complaint on four


1 MetLife, Inc. (“MetLife”) was originally named as a defendant
in this action. On February 3, 2015, the parties stipulated to
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grounds: (1) the Plaintiffs lack standing under Article III; (2)

the Plaintiffs fail to state a claim under Fed. R. Civ. P.

12(b)(6); (3) the primary jurisdiction doctrine bars the Court

from adjudicating this action; and (4) the statute of

limitations has run.    For the reasons that follow, the

Plaintiffs do not have Article III standing because they have

failed to demonstrate that they suffered an injury-in-fact.                 The

Court therefore lacks subject-matter jurisdiction over the

action and MLIC’s motion to dismiss is granted.

                              Background

     The following facts are asserted in the complaint and taken

from documents integral to those claims.         The Plaintiffs are a

putative class of MLIC policyholders and more than two thirds of

class members live outside of New York.        MLIC is a life

insurance company incorporated in New York with its principal

place of business in New York.

     In general, life insurance provides money to beneficiaries

after an insured person’s death, helping to defray the costs

associated with losing a loved one.        Policyholders may buy life


dismiss all claims against MetLife. There are two related cases
that have been consolidated and stayed pending the outcome of
this motion to dismiss: Intoccia v. Metropolitan Life Insurance
Co., 15cv3061, and Weilert et al. v. Metropolitan Life Insurance
Co., 15cv3375. The parties in another related case, Yale v.
Metropolitan Life Insurance Co., 15cv00199, have stipulated that
the Yale case would be consolidated into the Robainas matter and
that Robainas is the lead case.
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insurance as individuals or as part of a group plan, often

through their employer.       The cost of a life insurance policy may

reflect the financial health of the insurer, and MLIC advertises

that it is in good financial condition.

     MLIC is regulated by the New York State Department of

Financial Services (“NYDFS”).      In order to guarantee that life

insurance companies can pay claims when they come due, New York

regulations require that insurers establish reserve liabilities

(“reserves”).    These reserves must contain “admitted assets,”

which are assets that can be reliably liquidated to pay claims

immediately when they become due.        State regulators determine

the required reserve amounts using established formulas.             These

formulas, however, leave open the possibility that a devastating

mortality event or market disruption could leave insurance

companies unable to pay claims.      Regulators also monitor MLIC’s

risk-based capital (“RBC”) ratio, which is the ratio of the

insurer’s total capital to the minimum capital required under

the reserve formula.     RBC ratios are important in evaluating the

financial condition of a life insurance company.

I.   Reinsurance

     Many insurers obtain reinsurance to help minimize the risks

involved in offering insurance.      With reinsurance, the primary

insurer (“ceding insurer”) contracts with another insurer to

carry all or part of the risk assumed by the primary insurer in

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writing the original policy.       Primary insurers –- such as MLIC –

- may claim a “reserve credit” through reinsurance, which has

the effect of reducing the assets a primary insurer must

maintain in support of its reserves.        Primary insurers remain

ultimately responsible for paying policyholder claims, even when

those claims are covered by reinsurance agreements.

     New York regulators permit primary insurers to take reserve

credits for reinsurance only when that reinsurance meets certain

requirements.   There are two types of reinsurance that

regulators deem sufficiently safe to allow a reserve credit: (1)

where the reinsurer is authorized by the primary insurer’s

regulator; and (2) where the reinsurer is unauthorized but posts

adequate, easily-liquidated collateral for the reinsurer’s

obligation.   The collateral posted by unauthorized reinsurers

typically consists of a trust maintained with a U.S. financial

institution or irrevocable letters of credit (“LOC”) from a U.S.

financial institution.       A primary insurer may seek reinsurance

from a “captive” reinsurer, which is affiliated with the primary

insurer’s parent, provided that the captive reinsurer is

authorized in New York or able to meet the same conditions set

forth for unauthorized reinsurers.

II. “Shadow Insurance”

     Some New York life insurers use a tactic called “shadow

insurance” to escape these regulatory requirements for captive

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reinsurance.    In July 2012, NYDFS investigated the shadow

insurance practices of New York life insurance companies.              The

NYDFS issued a report of its findings in 2013 (“Report”).              The

Report found that, in a typical shadow insurance transaction,

primary insurers use a captive subsidiary located offshore or in

another jurisdiction with lax regulations governing the

reinsurer’s collateral.      Using reinsurers subject to looser

regulatory requirements allows the primary insurer to take a

reserve credit without meaningfully reducing its own risk.

     Four specific types of shadow insurance transactions caused

the NYDFS greatest alarm.      These are “hollow asset”

transactions, “naked parental guarantees,” “conditional letters

of credit,” and “two-step transactions.”         A “hollow asset” is a

letter of credit with a parental guarantee that is recorded as

an asset on the books of a captive reinsurer, when such a letter

of credit is not a “real asset.”        A “naked parental guarantee”

occurs when the captive reinsurer does not obtain a letter of

credit, but simply promises that its parent company will cover

its losses.    A “conditional letter of credit” is a letter of

credit that has stipulated conditions that must be met before it

can be drawn upon, which is riskier than an unconditional letter

of credit.    “Two-step transactions” involve a New York primary

insurer ceding risk to a non-New York based affiliate, who then

again reinsures the risk to a company affiliated with the

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primary insurer.    Shadow insurance transactions reduce the

reserve liabilities of primary insurers by providing them with

an avenue for obtaining reserve credits without meaningfully

reducing their risk.    This artificially increases an insurer’s

RBC ratio.    This increase has the effect of making the primary

insurer appear more financially stable than it actually is,

which in turn could inflate its ratings or manipulate those who

rely on the RBC ratio for determining an insurer’s financial

health.

     These shadow insurance transactions also lead to increased

risks for policyholders.       In particular, parental guarantees do

not result in a meaningful transfer of risk from the primary

insurer to the captive reinsurer.        Thus, in the event of a

crisis, primary insurers may not have sufficient liquid capital

to pay life insurance claims.       Further, because the financial

health of a primary insurer is linked to the financial stability

of its parent, if a bank declines to renew a parent company’s

LOC supporting a primary insurer’s reserve credit, the primary

insurer may be unable to find other sources of funding to pay

its claims.

III. MLIC’s Conduct and Plaintiffs’ Claims

     MLIC, a wholly-owned subsidiary of MetLife, Inc.

(“MetLife”), uses captive and offshore reinsurance companies to

reinsure its policies.       According to Plaintiffs, MLIC is

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identified as “Case 1” in the NYDFS Report.         MLIC is well-rated

by all of the ratings agencies, including Moody’s and Standard &

Poor’s.    Both MetLife and MLIC advertise their financial

strength in order to compete with other insurers.

     Plaintiffs’ complaint details several shadow insurance

transactions by MLIC.    For example, MLIC obtained a reserve

credit from four LOCs totaling $1,184,000,000 that were used by

its captive affiliate, MetLife Reinsurance Company of Vermont

(“MRV”), and its offshore affiliates, Exeter Reassurance Company

Ltd. and Missouri Reinsurance (Barbados), Inc.          MLIC did not

disclose that these LOCs were backed by contractual parental

guarantees, meaning that the agreements did not actually

transfer as much risk as it appeared from MLIC’s regulatory

filings.    MLIC’s reserve credit included a $315 million LOC that

the Report determined was a “hollow asset,” even though MLIC

reported it as an admitted asset.      MLIC also used two-step

transactions with non-New York affiliates who then ceded their

risk to captive reinsurers.     MLIC’s RBC ratio improved by 109%

after it entered into these shadow insurance transactions.

Further, in its 2011 Annual Statement, MLIC reported that it

took a reserve credit in the amount of $2,947,745,838.            The

reserve credit was based, in part, on the transactions with MLV

and other captive reinsurers.



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     Plaintiffs allege that MLIC did not disclose these shadow

insurance transactions and therefore violated § 4226(a)(4) of

the New York Insurance Law.      The statute prohibits insurers from

“mak[ing] any misleading representation, or any

misrepresentation of the financial condition of any such insurer

or of the legal reserve system upon which it operates.”             In

support of their allegations, Plaintiffs claim that MLIC did not

disclose its parental guarantees in its annual required

disclosures. 2   Further, MLIC reported shadow insurance

transactions as if they transferred risk to the same extent as

the captive reinsurance transactions that satisfied regulatory

requirements.    Thus, the Plaintiffs claim, MLIC rendered its

annual disclosures materially misleading by failing to describe

the true nature of the shadow insurance transactions and

reporting an artificially inflated RBC ratio.          Ratings agencies,

regulators, and the general public rely on these annual

statements in assessing the financial strength of life insurance

companies.   In sum, Plaintiffs allege that by not reporting

shadow insurance transactions as such, MLIC overstated its

financial health (through an inflated RBC ratio) and misled the

public.




2 MLIC’s annual disclosures are governed by N.Y. Ins. Law §§
307(a) and 4233(b) as well as detailed accompanying regulations.
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     Section 4226(d) provides that “[a]ny such insurer that

knowingly violates any provision of this section . . . shall, in

addition to any other penalty provided in this chapter, be

liable to a penalty in the amount of such premium . . . which

penalty may be sued for and recovered by any person aggrieved

for his own use and benefit.”      Plaintiffs claim that, as

“aggrieved” policyholders, they have a cause of action against

MLIC for “knowing” misrepresentations that violate § 4226(a)(4).

According to the complaint, Plaintiffs were “aggrieved” because

they paid premiums for MLIC’s life insurance policies and are

thus within the zone of interests the statute seeks to protect;

Plaintiffs argue that § 4226(d) does not require that they

experience any injury or suffer any damages.

     In any event, Plaintiffs claim four injuries: (1)

Plaintiffs paid premiums for life insurance policies that are

less financially secure than MLIC represented them to be; (2)

Plaintiffs paid inflated premiums for life insurance policies;

(3) in the future, MLIC may not be able to pay its claims

because of its use of shadow insurance; and (4) the Plaintiffs’

statutory right to full and accurate disclosures from their

insurers has been violated.      Importantly, the named Plaintiffs

do not contend that they specifically read, heard, or relied on

MLIC’s alleged misstatements beyond a general allegation that

MLIC misled the public, including policyholders.

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                               Discussion

     When deciding a motion to dismiss under Rule 12(b), Fed. R.

Civ. P., a court must “accept all allegations in the complaint

as true and draw all inferences in the non-moving party’s

favor.”   LaFaro v. New York Cardiothoracic Group, PLLC, 570 F.3d

471, 475 (2d Cir. 2009).       Where Article III standing is at

issue, “[e]ach element of standing must be supported in the same

way as any other matter on which the plaintiff bears the burden

of proof, i.e., with the manner and degree of evidence required

at the successive stages of litigation.”         Carver v. City of New

York, 621 F.3d 221, 225 (2d Cir. 2010) (citation omitted).

“Because standing is challenged here on the basis of the

pleadings, we therefore accept as true all material allegations

of the complaint, and must construe the complaint in favor of

the complaining party.”      Id. (citation omitted).

     In deciding a motion to dismiss, the court considers “any

written instrument attached to the complaint as an exhibit or

any statements or documents incorporated in it by reference.”

Stratte-McClure v. Morgan Stanley, 776 F.3d 94, 100 (2d Cir.

2015) (citation omitted).      The Plaintiffs have attached five

exhibits to the complaint, including the NYDFS Report on shadow

insurance.

     Article III of the United States Constitution limits the

jurisdiction of the federal courts to “cases” and
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“controversies.”    U.S. Const. art. III, § 2.        “In order to

ensure that this bedrock case-or-controversy requirement is met,

courts require that plaintiffs establish their standing as the

proper parties to bring suit.”      W.R. Huff Asset Management Co.,

LLC v. Deloitte & Touche LLP, 549 F.3d 100, 106 (2d Cir. 2008)

(citation omitted).    Article III’s standing requirement consists

of three elements: “(1) injury in fact, which must be (a)

concrete and particularized, and (b) actual or imminent; (2) a

causal connection between the injury and the defendant’s

conduct; and (3) that the injury is likely to be redressed by a

favorable decision.”    Kreisler v. Second Ave. Diner Corp., 731

F.3d 184, 187 (2d Cir. 2013) (citation omitted).            “[T]he

requirement of injury in fact is a hard floor of Article III

jurisdiction that cannot be removed by statute.”            Summers v.

Earth Island Inst., 555 U.S. 488, 497 (2009).          Further, the

“‘injury in fact’ test requires more than an injury to a

cognizable interest.    It requires that the party seeking review

be himself among the injured.”      Lujan v. Defenders of Wildlife,

504 U.S. 555, 563 (1992) (citation omitted).

     That this is a class action does not change these standing

requirements.   “[E]ven named plaintiffs who represent a class

must allege and show that they personally have been injured, not

that injury has been suffered by other, unidentified members of

the class.”   Lewis v. Casey, 518 U.S. 343, 357 (1996) (citation

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omitted).   Thus, “a plaintiff has class standing if he plausibly

alleges (1) that he personally has suffered some actual injury .

. . and (2) that [the defendant’s] conduct implicates the same

set of concerns” for the rest of the class.         Ret. Bd. of the

Policemen's Annuity & Ben. Fund of the City of Chicago v. Bank

of New York Mellon, 775 F.3d 154, 161 (2d Cir. 2014) (citation

omitted).   Further, “[i]n an era of frequent litigation [and]

class actions . . . courts must be more careful to insist on the

formal rules of standing, not less so.”        Arizona Christian Sch.

Tuition Org. v. Winn, 131 S. Ct. 1436, 1449 (2011).

     The first requirement for Article III standing is in

dispute here.   MLIC argues that, because Plaintiffs have not

suffered an actual injury-in-fact beyond the mere violation of §

4226(a)(4), they do not have Article III standing.           Plaintiffs

counter that §§ 4226(a)(4) and (d) together create a statutory

right to be free of misrepresentation by life insurance

companies and Plaintiffs experienced an injury when MLIC

violated that statutory right.

     As an initial matter it is important to clarify the

distinction between statutory standing and Article III, or

constitutional, standing.     For statutory standing, “the question

is whether the plaintiff has a cause of action under the

statute.”   Chabad Lubavitch of Litchfield Cnty., Inc. v.

Litchfield Historic Dist. Comm’n, 768 F.3d 183, 201 (2d Cir.

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2014) (citation omitted).     In other words, statutory standing

“is an issue that requires [courts] to determine, using

traditional tools of statutory interpretation, whether a

legislatively conferred cause of action encompasses a particular

plaintiff’s claim.”    Lexmark Int’l, Inc. v. Static Control

Components, Inc., 134 S. Ct. 1377, 1387 (2014).             New York

Insurance Law § 4226(d) undoubtedly provides a cause of action

to aggrieved policyholders.      That is, under the statute,

policyholders “aggrieved” by “knowing” violations of §

4226(a)(4) may sue to recover premiums they paid.

     Constitutional standing, on the other hand, requires a

court to determine whether the Article III requirements of

injury-in-fact, causation, and redressability are met in light

of both the statutory scheme and the facts of the plaintiff’s

individual case.    Lujan, 504 U.S. at 571-74 (finding that

Congress could not use a “citizen suit” provision to authorize a

cause of action without satisfying Article III).             The

distinction between statutory and constitutional standing is

vital because, even if Plaintiffs have a cause of action under §

4226(d), they must also satisfy Article III by showing that they

have suffered a concrete injury.

     The Plaintiffs have not demonstrated a sufficiently

concrete injury in this case.      The first of Plaintiffs’ theories

of injury is that they purchased policies that were riskier than

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MLIC represented them to be.      But, as the Honorable Jesse Furman

recently held in dismissing claims challenging shadow insurance

transactions, “absent any real or impending injury arising from

[MLIC’s] practices and nondisclosures, Plaintiffs’ conclusory

allegations of current risk do not suffice to confer Article III

standing.”    Ross v. AXA Equitable Life Ins. Co., -- F. Supp. 3d

–-, 2015 WL 4461654 at *10, (S.D.N.Y. July 21, 2015).            Further,

“Plaintiffs do not allege that they would not have purchased

policies . . . but for its nondisclosures.”         Id.

     Plaintiffs also claim that they paid higher premiums for

insurance policies than they would have absent MLIC’s failure to

disclose its shadow insurance.      This is the closest the

Plaintiffs come to articulating a cognizable injury under

Article III; however, this conclusory assertion of such injury

without any plausible basis does not confer standing on the

Plaintiffs.   Indeed, according to an economic study annexed as

an exhibit to the complaint, using shadow insurance actually

reduces the cost of life insurance policies and, if companies

discontinued using shadow insurance, premiums might rise by as

much as 10-21%. 3

     Plaintiffs further claim that, as a result of its use of

shadow insurance, MLIC may be unable to pay their life insurance


3 Ralph S.J. Koijen & Motohiro Yogo, Shadow Insurance, Nat’l
Bureau of Econ. Res. 3 (2013).
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claims in the future.    In order for such a future injury to

satisfy Article III, it must be “actual and imminent, not

conjectural or hypothetical.”      Summers, 555 U.S. at 493.

“Although imminence is concededly a somewhat elastic concept, it

cannot be stretched beyond its purpose, which is to ensure that

the alleged injury is not too speculative . . . that the injury

is certainly impending.”     Clapper v. Amnesty Int’l USA, 133 S.

Ct. 1138, 1147 (2013) (citation omitted).         Plaintiffs’ claim

that MLIC may in the future be unable to meet its obligations is

too “hypothetical, speculative, and uncertain” to satisfy

Article III.   Ross, 2015 WL 4461654, at *10.         Such “allegations

of possible future injury are not sufficient.”          Clapper, 133 S.

Ct. at 1147 (citation omitted).

     The Plaintiffs’ last claimed injury is that §§ 4226(a)(4)

and (d) together create a statutory right to be free from

misrepresentation by their insurer, and that the existence of

this right is sufficient to create Article III standing.

Although states may create a statutory cause of action where

none exists in federal law, 4 states may not bypass constitutional




4 Indeed, this is a fundamental premise of diversity
jurisdiction, where federal courts apply state substantive laws
that create legal rights and causes of action without federal
parallels. See FMC Corp. v. Boesky, 852 F.2d 981, 993 (7th Cir.
1988).


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or prudential 5 standing requirements.      Plaintiffs still must

demonstrate a concrete injury-in-fact, even if that injury is

based on a deprivation of a right created under state law.

     Even our national legislature may not bypass the

constitutional requirements of standing.        While “Congress may

grant an express right of action to persons who otherwise would

be barred by prudential standing rules . . . Article III’s

requirement remains: the plaintiff still must allege a distinct

and palpable injury to himself.” 6      Warth v. Seldin, 422 U.S. 490,

501 (1975). 7   Cases recognizing that a federal statutory


5 Prudential standing requirements are court-imposed limits on
federal jurisdiction and are not at issue in this case. These
requirements include the “reluctance to entertain generalized
grievances,” for example. Lexmark, 134 S. Ct. at 1387 n.3.

6 The Ninth Circuit recently held that mere violation of a
statutory right, without an accompanying harm, is sufficient to
satisfy the Article III injury requirement. Robins v. Spokeo,
742 F.3d 409, 412-13 (9th Cir. 2014). The Supreme Court granted
certiorari on the question of whether “Congress may confer
Article III standing upon a Plaintiff who suffers no concrete
harm, and who therefore could not otherwise invoke the
jurisdiction of a federal court, by authorizing a private right
of action based on a bare violation of a federal statute.”
Robins v. Spokeo, Inc., 2014 WL 1802228 (U.S.), cert. granted,
135 S. Ct. 1892 (2015). The Supreme Court’s answer to this
question could affect the analysis here, which relies on current
law requiring that the invasion of a statutory right encompass a
concrete injury-in-fact.

7 As Judge Furman recently explained, it is far from clear that
state legislatures have the power to confer standing on persons
whose claims would ordinarily be barred by prudential standing
rules. Ross, 2015 WL 4461654 *8 (discussing cases); see
Hollingsworth v. Perry, 133 S. Ct. 2652, 2667 (2013)
(“[S]tanding in federal court is a question of federal, not
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violation can confer standing rely on finding a concrete injury

in making that determination.        For example, although Congress

had a “general interest in safeguarding the integrity of the

stock market” when it enacted § 16(b) of the Securities Exchange

Act of 1934 and required short-swing profits to be disgorged,

“it did not eliminate the injury requirement of standing.”

Donoghue v. Bulldog Investors Gen. P’ship, 696 F.3d 170, 180 (2d

Cir. 2012).     The breach of a fiduciary duty and reputational

interest in avoiding insider trading provided a concrete

personal stake in the suit to satisfy Article III.             Id. at 177-

78.   Other cases in which the Court of Appeals has addressed

statutory violations and the concrete injury requirement have

similarly required that the statutory violation constitute a

palpable deprivation.      E.g., E.M. v. New York City Dep’t of

Educ., 758 F.3d 442, 456-57 (2d Cir. 2014) (finding that a

plaintiff had standing because her contractual obligation to pay

private school tuition was a concrete injury, which was required

even for statutorily-created rights); Kendall v. Employees Ret.

Plan of Avon Products, 561 F.3d 112, 118 (2d Cir. 2009) (holding

that a “plan participant suing under ERISA must establish both

statutory standing and constitutional standing, meaning the plan




state law. . . . [T]he fact that a State thinks a private party
should have standing to seek relief for a generalized grievance
cannot override our settled law to the contrary.”).
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participant must . . . assert a constitutionally sufficient

injury arising from the breach of a statutorily imposed duty”).

     In any event, the Plaintiffs’ reliance on § 4226(d) to

supply their standing in the absence of any concrete injury is

misplaced.    The statute appears to require a plaintiff to

experience a concrete injury in order to state a cause of

action.   Section 4226(d) grants a cause of action to

policyholders who were “aggrieved” by “knowing”

misrepresentations about an insurer’s reserves.             Although

“aggrieved” sometimes has a statute-specific meaning, see In re

Barnet, 737 F.3d 238, 242 (2d Cir. 2013) (defining “person

aggrieved” in bankruptcy appeals as a person “directly and

adversely affected pecuniarily” by the challenged ruling), the

term has not yet been defined in the context of § 4226(d).

Where a “statute does not define a term, we give the term its

ordinary meaning.”     Laurent v. PricewaterhouseCoopers LLP, 794

F.3d 272, 281 (2d Cir. 2015) (citation omitted).             Webster’s New

Riverside University Dictionary 86 (2d ed. 1984) defines

“aggrieve” as “[t]o distress or afflict” or “[t]o injure

unjustly.”    “Aggrieved” is similarly defined as “[t]reated

wrongly.”    Id.   These definitions indicate that an aggrieved

party is one that experiences some sort of wrong or harm, which

is consistent with the ordinary meaning of the term.



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     The Supreme Court and the Court of Appeals have in several

cases embraced this definition when interpreting “aggrieved.”

For example, courts have understood “aggrieved” as requiring an

injury-in-fact coextensive with the requirements of Article III.

See, e.g., Fed. Election Comm’n v. Akins, 524 U.S. 11, 19 (1998)

(“History associates the word ‘aggrieved’ with a congressional

intent to cast the standing net broadly,” beyond the scope of

prudential standing requirements but still subject to Article

III); 8 Green Island Power Auth. v. F.E.R.C., 577 F.3d 148, 158

(2d Cir. 2009) (“A party is ‘aggrieved’ if it can establish that

it has both constitutional and prudential standing” to challenge

an agency’s order); Innovative Health Sys., Inc. v. City of

White Plains, 117 F.3d 37, 47 (2d Cir. 1997) (“[T]he

Rehabilitation Act extends its remedies to ‘any person

aggrieved.’ . . . [T]he use of such broad language in the

enforcement provisions of the statutes evinces a congressional

intention to define standing . . . as broadly as is permitted by

Article III.” (citation omitted)).


8 This definition of “aggrieved” does not hold for every statute.
Thompson v. N. Am. Stainless, L.P., 562 U.S. 170, 176-77 (2011)
(declining to extend an earlier decision defining “aggrieved” as
coextensive with Article III’s limits, instead finding that the
term embodies the “zone of interest” test for suits under Title
VII). Reading “aggrieved” as existing at the outer bounds of
Article III standing represents an effort to interpret the term
as expansively as federal jurisdiction allows while avoiding a
potentially complex area of statutory interpretation.


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     But, even if § 4226(d) does not require a plaintiff to have

experienced a concrete injury, Plaintiffs still must satisfy

Article III.   “Art. III’s requirement remains: the plaintiff

must still allege a distinct and palpable injury to himself,

even if it is an injury shared by a large class of other

possible litigants.”    Warth, 422 U.S. at 501.         Plaintiffs have

not alleged that MLIC’s purported violation of § 4226 caused

them such an injury, and therefore they do not have standing

under Article III.

                               Conclusion


     MLIC’s May 22, 2015 motion to dismiss is granted.             The

Clerk of Court shall enter judgment for MLIC and close the case.


Dated:    New York, New York
          October 9, 2015



                                 ____________________________________
                                            DENISE COTE
                                   United States District Judge




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